Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 1of22 Page ID #:491

 

 

 

 

 

 

 

 

 

Name Arelious Reed FILED
Aiideese 1515 Fort Street Unit 96 CLERK, U.S. DISTRICT COURT
City, State, Zip Lincoln Park, MI 48146 8/3 1/2022
Phone (313) 530-5189

None CENTRAL DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

Aretious Reed
CASE NUMBER:
PLAINTIFF(S), 2:21-cv-07545-JVS MRW
Wells Fargo Bank, N.A.
Attorney Jenny Yi Two Embarcadero Center Ste. 1300
San Francisco, CA 94111 NOTICE OF APPEAL
DEFENDANT(S).
NOTICE IS HEREBY GIVEN that Arelious Reed hereby appeals to
Name of Appellant

the United States Court of Appeals for the Ninth Circuit from:

Criminal Matter Civil Matter
O Conviction only [F.R.Cr.P. 32)(1)(A)] i Qader (specify motion to dismiss
O Conviction and Sentence Arelious Reed SAC granted
C Sentence Only (18 U.S.C. 3742)
.R.Cr.P. j)(2 M Jud t ify):
C] Pursuant to F.R.CrP. 32()(2) AreLiGun. SPF city) to alter or amend

0 Interlocutory Appeals

i judgment denied
OC Sentence imposed: Juce

0 Other (specify):

OC Bail status:

Imposed or Filed on July 19, 2022 . Entered on the docket in this action on August 24, 2022

A copy of said judgment or order is attached hereto.

8/29/2022 £ Vy L

Date Signature! ee
J Appellant/ProSe Counsel for Appellant 0 Deputy Clerk

Note: The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).

 

A. IN1/07) NOTICE OF APPEAL
Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 2of22 Page ID #:492

t

1. I believe I am entitled to redress, and the issues which I desire to present on my

proposed appeal are the following:

a. Whereas Wells Fargo Bank, N.A. name in the judgment is a nominal party, and
that defendant D/B/A WELLS FARGO DEALER SERVICES, INC., ought at law
and in equity to be fully bound and obligated by the judgment rendered.

b. Arelious Reed do believe that his motion to alter or amend judgment was filed
timely under Acceptance by the Clerk. The clerk must not refuse to file a paper
solely because it is not in the form prescribed by these rules or by a local rule or
practice. Filing and Service pursuant to Federal Rules of Civil Procedure Rule

5(d)(4) and under Federal Rules of Appellate Procedure Rule 25(a)(B)(4)

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
CaseNo. 2:21-cv-07545-JVS-MRW Date June 9, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

 

 

Present: The James V. Selna, U.S. District Court Judge
Honorable

 

Lisa Bredahl Not Present
Deputy Clerk Court Reporter

 

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:

Not Present Not Present

 

Proceedings: [IN CHAMBERS] Order Regarding Motion to Dismiss

Defendant Wells Fargo Bank, N.A. (“Wells Fargo”) moved to dismiss the Second
Amended Complaint (“SAC”) of Plaintiff Arelious Reed (“Reed”). Mot., Dkt. 52. Reed
submitted a filing in response, captioned as a motion to strike Wells Fargo’s motion to
dismiss. Dkt. 58. Wells Fargo responded. Dkt. 61. Reed subsequently submitted
another filing in response to Wells Fargo’s reply. Dkt. 62.

For the following reasons, the Court DISMISSES Reed’s SAC with prejudice and
DENIES all relief requested by Reed.

The Court VACATES the hearing scheduled for June 13, 2022. The Court finds
that oral argument would not be helpful in this matter. Fed R. Civ. P. 78; L.R. 7-15.

I. BACKGROUND

Reed alleges that on or about January 28, 2019, he financed the purchase of a 2015
Cadillac Escalade through Wells Fargo. Second Amended Complaint (“SAC”), Dkt. 50,
at 3. Reed alleges that he paid the loan in full on or around September 13, 2019, but did
not receive any GAP contract payment refunds from Wells Fargo for paying off the loan
early as required by the contract. Id. at 3+.

On September 14, 2021, Reed filed his initial complaint against Wells Fargo. See
Dkt. 1. On January 11, 2022, the Court granted Wells Fargo’s motion to dismiss the
complaint and granted Reed leave to file an amended complaint. See Dkt. 30. On
January 19, 2022, Reed filed the FAC. See Dkt. 31. On April 21, 2022, the Court

CV-90 (06/04) CIVIL MINUTES - GENERAL Page | of 6

 
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JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
CaseNo. 2:21-cv-07545-JVS-MRW Date June 9, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

 

granted Wells Fargo’s motion to dismiss the FAC and again granted Reed leave to
amend. See Dkt. 49. On April 29, 2022, Reed filed the SAC. On May 9, 2022, Wells
Fargo filed the instant motion.

II. LEGAL STANDARD

Under Rule 8, a complaint must contain a “short and plain statement of the claim
showing that the pleader is entitled to relief,” and “[eJach allegation must be simple,
concise, and direct.” Fed. R. Civ. P. 8(a), (d). “[T]he short and plain statement must
provide the defendant with fair notice of what the plaintiff's claim is and the grounds
upon which it rests.” Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 346 (2005) (internal
quotations and citations omitted). Rule 8 “demands more than an unadorned,
the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the
elements of a cause of action will not do.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550
U.S. 544, 555 (2007)). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’
devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557). Rule
8 may be violated when a pleading “says too little,” and “when a pleading says too
much.” Knapp v. Hogan, 738 F.3d 1106, 1109 (9th Cir. 2013) (emphasis omitted).

 

“(A] pro se complaint, however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.” Woods v. Carey, 525 F.3d 886,
889-90 (9th Cir. 2008) (citations and internal quotation marks omitted). However, “a pro
se litigant is not excused from knowing the most basic pleading requirements” or “from
following court rules.” Am. Ass’n of Naturopathic Physicians v. Hayhurst, 227 F.3d
1104, 1107-08 (9th Cir. 2000) (citation and internal quotation marks omitted); see also
Pliler v. Ford, 542 U.S. 225, 231 (2004) (“District judges have no obligation to act as
counsel or paralegal to pro se litigants.”).

Ill. DISCUSSION
A. Motion to Strike

In response to Wells Fargo’s motion to dismiss, Reed submitted a filing captioned
as a “motion to strike.” Reed requests that the Court strike Wells Fargo’s defenses

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 2 of 6
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JS -6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
Case No. 2:21-cv-07545-JVS-MRW Date June 9, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

 

pursuant to Federal Rule of Civil Procedure 12(f). See generally Dkt. 58. Rule 12(f)
allows a court to “strike from a pleading an insufficient defense or any redundant,
immaterial, impertinent, or scandalous matter.” However, “[uJnder the express language
of the rule, only pleadings are subject to motions to strike.” Sidney-Vinstein v. A.H.
Robins Co., 697 F.2d 880, 885 (9th Cir. 1983). A motion to dismiss does not fall within
the definition of a pleading. See Fed. R. Civ. P. 7(a) (defining pleadings to include
complaints, answers, third-party complaints and replies to answers). Thus, Reed’s
request to strike Wells Fargo’s motion to dismiss is denied as improper. See In re Tesla
Inc. Securities Litig., 477 F. Supp. 3d 903, 920 (N.D. Cal. 2020) (“Defendants’ motion to
dismiss, however, is not subject to a motion to strike because only pleadings can be
stricken under Rule 12(f), and pleadings are defined as complaints, third-party
complaints, answers, and replies to answers.”). However, in light of Reed’s status as a
pro se plaintiff, the Court will construe Reed’s filing as an opposition to Wells Fargo’s
motion to dismiss.

 

B. Motion to Dismiss

Wells Fargo argues that Reed’s complaint should be dismissed for failure to
comply with Rule 8(a). Mot. at 7-8. The Court dismissed Reed’s initial complaint for
failure to comply with Rule 8(a) because it was “devoid of sufficient factual allegations
for the Court to draw a reasonable inference that Wells Fargo is liable for the alleged
misconduct.” Dkt. 30 at 4. Subsequently, the Court dismissed Reed’s FAC because it
also failed to put Wells Fargo on notice of the claims against it, in violation of Rule 8(a).
Dkt. 49 at 4.

The SAC suffers from the same flaws. It adds eight new causes of action, yet
provides less factual detail in support of Reed’s allegations. The SAC fails to explain
how the facts alleged relate to any of the causes of action asserted by Reed. It does not
list the elements of any claim, or explain how Wells Fargo is liable for misconduct that
would support causes of action under those claims. See Igbal, 556 U.S. at 678. The
Court agrees with Wells Fargo that Reed’s assertions are insufficient to put Wells Fargo
on notice of Reed’s theory of why he is entitled to relief. See Mot. at 8; Dura Pharms.,
544 US. at 346.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 3 of 6
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
Case No. 2:21-cv-07545-JVS-MRW Date June 9, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

 

Accordingly, the Court DISMISSES the SAC for failure to meet the Rule 8
pleading requirements.

C. Leave to Amend

Wells Fargo seeks dismissal with prejudice. A party may amend its pleading once
as a matter of course within: (A) 21 days after serving it, or (B) if the pleading is one to
which a responsive pleading is required, 21 days after service of a responsive pleading or
21 days after service of a motion under Rule 12(b), (e), or (f), whichever is earlier.” Fed.
R. Civ. P. 15(a)(1). In all other cases, a party may amend its pleading only with written
consent from the opposing party or the court’s leave, which should be “freely
give[n] . .. when justice so requires.” Fed. R. Civ. P. 15(a)(2); see Morongo Band of
Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990) (requiring that policy
favoring amendment be applied with “extreme liberality”).

In the absence of an “apparent or declared reason,” such as undue delay, bad faith,
dilatory motive, repeated failure to cure deficiencies by prior amendments, prejudice to
the opposing party, or futility of amendment, it is an abuse of discretion for a district
court to refuse to grant leave to amend a complaint. Foman v. Davis, 371 U.S. 178, 182
(1962); Moore v. Kayport Package Express, Inc., 885 F.2d 531, 538 (9th Cir. 1989). The
consideration of prejudice to the opposing party “carries the greatest weight.” Eminence
Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). “Although there is a
general rule that parties are allowed to amend their pleadings, it does not extend to cases
in which any amendment would be an exercise in futility, or where the amended
complaint would also be subject to dismissal.” Steckman v. Hart Brewing, 143 F.3d
1293, 1298 (9th Cir. 1998) (internal citations omitted).

The Court does not find that leave to amend is warranted in this case. Reed has
already amended his complaint twice in response to the Court’s orders and Wells Fargo’s
motions to dismiss. At this stage, the Court believes that further amendment would be
futile. The Court previously held that Reed’s complaint and FAC both failed to satisfy
Rule 8. The prior orders explained the flaws in the complaint and what changes Reed
would need to make upon amendment. Instead of responding to the Court’s direction,
Reed has continued to make the same mistakes, and in the SAC he offers even less

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 4 of 6
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JS -6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
Case No. 2:21-cv-07545-JVS-MRW Date June 9, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

support for his allegations. Despite multiple opportunities to amend his complaint, Reed
has not shown any reason to believe that these errors can be remedied.

Accordingly, the Court dismisses the SAC with prejudice because further
amendment would be futile. See Steckman, 143 F.3d at 1298.
C. Motion for Sanctions

Finally, Reed submitted a supplemental filing captioned as a motion for sanctions
in response to Wells Fargo’s reply brief. See Dkt. 62. He appears to seek sanctions
under Rule 11 against Wells Fargo because of its alleged failure to follow Local Rules 7-
3, 7-4, 7-5(b), 7-6, and 7-9 when filing its reply brief. See id. at 1. Sanctions are not
appropriate here for several reasons. First, Federal Rule of Civil Procedure 11(c)(2)
(“Rule 11”), the “safe harbor rule,” requires a party requesting sanctions under Rule 11 to
wait 21 days between serving the opposing party and filing the motion with the Court.
There is no indication that Reed provided the requisite notice to Wells Fargo. Next,
under Rule 11, sanctions may be imposed “when a filing is frivolous, legally
unreasonable, or without factual foundation, or is brought for an improper purpose.”
Estate of Blue v. Cnty. of Los Angeles, 120 F.3d 982, 985 (9th Cir. 1997). Reed does not
make any arguments to suggest that is the case here. Finally, Reed’s only argument to
support his request for sanctions is Wells Fargo’s alleged failure to comply with Local
Rules 7-3, 7-4, 7-5(b), 7-6, and 7-9. However, Local Rules 7-3, 7-4, 7-5(b), and 7-6 only
apply to motions, not to an opposition or reply brief, thus they do not apply to the filing
at issue. Reed makes no argument to support his contention that Local Rule 7-9 applies,
let alone that Wells Fargo’s filing violated the rule.

Accordingly, the request for sanctions is DENIED.
IV. CONCLUSION

For the foregoing reasons, the Court DISMISSES Reed’s SAC with prejudice and
DENIES all relief requested by Reed.

The Court VACATES the hearing scheduled for June 13, 2022. The Court finds
that oral argument would not be helpful in this matter. Fed R. Civ. P. 78; L.R. 7-15.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 5 of 6
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JS -6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
CaseNo. 2:21-cv-07545-JVS-MRW Date June 9, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

IT IS SO ORDERED.

 

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CV-90 (06/04) CIVIL MINUTES - GENERAL Page 6 of 6
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

 

CaseNo. 2:21-cv-07545-JVS (MRWx) Date August 24, 2022
Title Arelious Reed v. Wells Fargo Bank, N.A.
Present: The James V. Selna, U.S. District Court Judge
Honorable
Lisa Bredahl Not Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Not Present Not Present

Proceedings: [IN CHAMBERS] Order Regarding Plaintiff’s Motion to Alter or
Amend Judgment [67]

 

Plaintiff Arelious Reed (“Reed”) moves to alter or amend the Court’s judgment in
this matter pursuant to Federal Rules of Civil Procedure 59(e) (“Rule 59(€)”) or 60(b)
(“Rule 60(b)”). See Mot., Dkt. 67. Defendant Wells Fargo Bank, N.A. (“Wells Fargo”)

opposes the motion. See Opp’n, Dkt. 68.
For the following reasons, the Court DENIES the motion.
I. BACKGROUND

Reed alleges that on or about January 28, 2019, he financed the purchase of a 2015
Cadillac Escalade through Wells Fargo. SAC, Dkt. 50, at 3. Reed alleges that he paid the
loan in full before it was due, but did not receive any GAP contract payment refunds from
Wells Fargo for paying off the loan early as the contract required. Id. at 3-4.

On September 14, 2021, Reed filed his initial complaint against Wells Fargo. See
Dkt. 1. On January 11, 2022, the Court granted Wells Fargo’s motion to dismiss the
complaint for failing to comply with Rule 8(a) because it was “devoid of sufficient
factual allegations for the Court to draw a reasonable inference that Wells Fargo [was]
liable for the alleged misconduct,” and granted Reed leave to file an amended complaint.
See Dkt. 30. On January 19, 2022, Reed filed the First Amended Complaint (“FAC”).
See Dkt. 31. On April 21, 2022, the Court again granted Wells Fargo’s motion to dismiss
the FAC for failing to comply with Rule 8(a), and again granted Reed leave to amend.
See Dkt. 49. Reed then filed his SAC, which Wells Fargo moved to dismiss. See DKt. 64
at 1.
CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 5

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

Case No. 2:21-cv-07545-JVS (MRWx) Date August 24, 2022
Title Arelious Reed v. Wells Fargo Bank, N.A.

 

On June 9, 2022, the Court granted Wells Fargo’s Motion to Dismiss Reed’s SAC
with prejudice, finding that the SAC failed to allege facts sufficient to state a claim and
“suffer[ed] from the same flaws” as Reed’s prior pleadings “[d]espite [Reed’s] multiple
opportunities to amend his complaint.” Dkt. 64 at 3-5 (the “SAC Dismissal Order”).
The Court also denied Reed’s motion for Rule 11 sanctions against Wells Fargo for
supposedly violating various local rules when filing its reply brief. Id. at 5. The Court
explained that sanctions were not appropriate because Reed failed to notify Wells Fargo
that he was going to seek sanctions, in violation of Rule 11’s safe harbor rule; did not
provide any reason that Wells Fargo’s filing was frivolous, legally unreasonable, without
factual foundation, or brought for an improper purpose; asserted violations of rules that
did not apply to Wells Fargo’s filing and were not supported by any argument. Id. at 5.

II. LEGAL STANDARD

Motions for reconsideration may be brought under Rule 59(e) or Rule 60 of the
Federal Rules of Civil Procedure. Backlund v. Barnhart, 778 F.3d 1386, 1388 (9th Cir.
1985). “The difference between a motion brought under Federal Rule of Civil Procedure
59(e) and one brought pursuant to Rule 60(b) is one largely of timing rather than
substance.” Martinez v. United States, 2018 WL 5801581, at *1 (C.D. Cal. June 8,
2018). “[A] motion for reconsideration is treated as a motion to alter or amend judgment
under Federal Rule of Civil Procedure 59(e) if it is filed within [the time period that the
Rule permits]. Otherwise, it is treated as a Rule 60(b) motion for relief from a judgment
or order.” Am. Ironworks & Erectors, Inc. v. N. Am. Constr. Corp., 248 F.3d 892,
898-99 (9th Cir. 2001) (internal citation omitted).

“Under Federal Rule of Civil Procedure 59(e), a party may move to have the court
amend its judgment within twenty-eight days after entry of the judgment.” Allstate Ins.
Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). “Since specific grounds for a motion
to amend or alter are not listed in the rule, the district court enjoys considerable discretion
in granting or denying the motion.” Id. (quoting McDowell v. Calderon, 197 F.3d 1253,
1255 n. 1 (9th Cir.1999) (en banc) (per curiam)). “In general, there are four basic
grounds upon which a Rule 59(e) motion may be granted: (1) if such motion is necessary
to correct manifest errors of law or fact upon which the judgment rests; (2) if such motion
is necessary to present newly discovered or previously unavailable evidence; (3) if such
motion is necessary to prevent manifest injustice; or (4) if the amendment is justified by
an intervening change in controlling law.” Id. (citing McDowell, 197 F.3d at 1255 n.1).

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 2 of 5

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

CaseNo. 2:21-cv-07545-JVS (MRWx) Date August 24, 2022
Title Arelious Reed v. Wells Fargo Bank, N.A.

 

Rule 60(b) allows the Court to relieve a party from a final judgment or order for:
“(1) mistake, inadvertence, surprise, or excusable neglect; (2) newly discovered evidence
that, with reasonable diligence, could not have been discovered in time to move for a new
trial under Rule 59(b); (3) fraud (whether previously called intrinsic or extrinsic),
misrepresentation, or misconduct by an opposing party; (4) the judgment is void; (5) the
judgment has been satisfied, released, or discharged; it is based on an earlier judgment
that has been reversed or vacated; or applying it prospectively is no longer equitable; or
(6) any other reason that justifies relief.” Fed. R. Civ. P. 60(b).

Whether brought under Rule 59(e) or 60(b), reconsideration is an “extraordinary
remedy, to be used sparingly in the interests of finality and conservation of judicial
resources.” Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890. Thus, “a motion
for reconsideration should not be granted absent highly unusual circumstances,” such as
where a district court “is presented with newly discovered evidence, committed clear
error, or if there is an intervening change in the controlling law.” 389 Orange St. Partners
v. Amold, 179 F.3d 656, 665 (9th Cir. 1999). Motions for reconsideration cannot “be
used to raise arguments or present evidence for the first time when they could reasonably
have been raised earlier in the litigation.” Carroll v. Nakutani, 342 F.3d 934, 945 (9th
Cir. 2003).

“Courts in this district have interpreted Local Rule 7-18 to be coextensive with
Rules 59(e) and 60(b).” The grounds for reconsideration are set forth in Local Rule 7-18,
which provides:

A motion for reconsideration of the decision on any motion may
be made only on the grounds of (a) a material difference in fact or
law from that presented to the Court before such decision that in
the exercise of reasonable diligence could not have been known
to the party moving for reconsideration at the time of such
decision, or (b) the emergence of new material facts or a change
of law occurring after the time of such decision, or (c) a manifest
showing of a failure to consider material facts presented to the
Court before such decision. No motion for reconsideration shall
in any manner repeat any oral or written argument made in
support of or in opposition to the original motion.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 3 of 5
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

CaseNo. 2:21-cv-07545-JVS (MRWx) Date August 24, 2022
Title Arelious Reed v. Wells Fargo Bank, N.A.

 

L.R. 7-18.! The Court has discretion in determining whether to grant a motion for
reconsideration. See Navajo Nation v. Confederated Tribes & Bands of the Yakima
Indian Nation, 331 F.3d 1041, 1046 (9th Cir. 2003).

III. DISCUSSION

Reed moves for reconsideration of the Court’s June 9, 2022 dismissal order
“pursuant to Federal Rules of Civil Procedure 59(e) and/or Federal Rules of Civil
Procedure 60 and under Central District of California Local Rules 7.18.” See Mot. at 2.

Under Local Rule 7-18, Reed was required, absent good cause, to submit his
motion for reconsideration “no later then 14 days after the entry of the Order that is the
subject of the motion or application.” L.R. 7-18. Reed filed this Motion on July 19,
2022, forty days after the entry of the SAC Dismissal Order of which he seeks
reconsideration. See Mot. at 1 (filed July 19, 2022); SAC Dismissal Order, Dkt. 65
(entered June 9, 2022). Reed’s motion was not timely, because it was filed outside the
fourteen-day period and Reed does not provide good cause to excuse his untimely filing.

Under Rule 59(e), a party may file a motion to alter or amend a judgment no later
than 28 days after the entry of the judgment. Allstate Ins. Co. v. Herron, 634 F.3d 1101,
1111 (9th Cir. 2011). A dismissal with prejudice for failure to state a claim under Rule
12(b)(6), such as the SAC Dismissal Order, is considered a final judgment on the merits.
Cirrus Educ.. Inc. v. Adams, 2017 U.S. Dist. LEXIS 221959, at *1 (C.D. Cal. Nov. 7,
2017) (citing Stewart v. U.S. Bancorp, 297 F.3d 953 (2002)). Because Reed filed this
Motion 40 days after the date of the dismissal, this Motion is untimely under Rule 59(e)
and may be considered a motion under Rule 60(b).

 

However, Reed’s Motion fails regardless of how it is construed, because Reed does
not assert any valid basis for relief under Rule 59(e), Rule 60(b), or Local Rule 7-18.
First, Reed fails to address the requirements of Local Rule 7-18. Reed does not provide a
“material difference in fact or law” from what was presented to the Court or claim that
any new material facts have emerged. Nor does Reed establish a manifest failure of the

 

! See also School Dist. No. 1J, Multnomah Cnty. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir.
1993) (reconsideration appropriate if the movant demonstrates clear error, manifest injustice, newly

discovered evidence, or an intervening change in controlling law).
CV-90 (06/04) CIVIL MINUTES - GENERAL Page 4 of 5
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-07545-JVS (MRWx) Date August 24, 2022

 

 

Title Arelious Reed v. Wells Fargo Bank, N.A.

Court to consider a manifest failure of the Court to consider material facts presented to it.
See L.R. 7-18. Moreover, Reed does not provide any other cognizable basis for relief
under the Local and Federal Rules. The only reason for reconsideration that Reed
provides, is that SAC Dismissal Order “should be amended by including in that Judgment
as an additional party Defendant, D/B/A Wells Fargo Dealer Services, Inc. to be fully
bound by the judgment” because that corporation “although not name[d] as, or formally
joined as, a party defendant in this action, appeared and actively participated in the trial
of the action, and is the real party in interest, whereas the defendant name in the judgment
is a nominal party.” Mot. at 7. This does not justify reconsideration under Rule 59(e),
Rule 60(b), or Local Rule 7-18.

Because Reed fails to establish any of the factors necessary to justify
reconsideration of the SAC Dismissal Order, the Court DENIES Reed’s Motion. See
Fisk v. Wilson, 2020 U.S. Dist. LEXIS 27252, at *3—4 (Feb. 18, 2020) (“Displeasure
with the outcome alone is insufficient; unless the moving party shows that one factor
exists, the Court will not grant reconsideration.”).

IV. CONCLUSION
For the foregoing reasons, the Court DENIES the motion. The Court finds that
oral argument would not be helpful in this matter and VACATES the August 29, 2022
hearing. Fed R. Civ. P. 78; L.R. 7-15.

IT IS SO ORDERED.

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 5 of 5
Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 14 of 22, Page ID #:504
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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
CIVIL DOCKET FOR CASE #: 2:21-cv-07545-JVS-MRW

 

Arelious Reed v. Wells Fargo Bank, N.A. Date Filed: 09/21/2021

Assigned to: Judge James V. Selna Date Terminated: 06/09/2022
Referred to: Magistrate Judge Michael R. Wilner Jury Demand: Plaintiff

Demand: $9,999,000 Nature of Suit: 190 Contract: Other
Related Case: 8:18-cv-00332-JVS-MRW Jurisdiction: Federal Question

Case in other court: Michigan Eastern, 2:21-cv-12146
Cause: 28:1331 Fed. Question: Breach of Contract

Plaintiff
Arelious Reed represented by Arelious Reed
1515 Fort St.
Unit 96
Lincoln Park, MI 48146
PRO SE
V.
Defendant
Wells Fargo Bank, N.A. represented by Jenny Yi
doing business as McGuireWoods LLP
Wells Fargo Dealer Services, Inc. Two Embarcadero Center, Suite 1300

San Francisco, CA 94111-3821
415-844-1943

Fax: 415-844-9922

Email: jyi@mcguirewoods.com

 

 

LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Date Filed # | Docket Text
09/14/2021 1 |COMPLAINT filed by Arelious Reed against Wells Fargo Bank, N.A. (TTho)

[Transferred from Michigan Eastern on 9/24/2021.] (Entered: 09/15/2021)

 

09/14/2021

IN

APPLICATION to Proceed without prepaying fees or costs by Arelious Reed. (TTho)
[Transferred from Michigan Eastern on 9/24/2021.] (Entered: 09/15/2021)

09/16/2021 4 | ORDER of DISQUALIFICATION and REASSIGNING CASE from District Judge
Robert H. Cleland in Port Huron to District Judge Stephen J. Murphy, UI in Detroit.
(SSch) [Transferred from Michigan Eastern on 9/24/2021.] (Entered: 09/16/2021)

 

 

 

 

 

 

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Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 15 of 22 Page ID 329°
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09/17/2021

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ORDER of DISQUALIFICATION and REASSIGNING CASE from Magistrate Judge
Anthony P. Patti to Magistrate Judge Curtis Ivy, Jr. (SSch) [Transferred from Michigan
Eastern on 9/24/2021.] (Entered: 09/17/2021)

 

09/21/2021

ORDER TRANSFERRING CASE to the Central District of California. Signed by
District Judge Stephen J. Murphy, III. (DPer) [Transferred from Michigan Eastern on
9/24/2021.] (Entered: 09/21/2021)

 

09/24/2021

ORIGINAL file, certified copy of transfer order and docket sheet received from
Michigan Eastern (Entered: 09/24/2021)

 

09/24/2021

NOTICE OF RECEIPT OF CASE TRANSFERRED IN: Formerly Case Number: 2:21-
cv-12146-SJM-CI, from U.S. District Court Eastern District of Michigan (Detroit). The

above-referenced case has been transferred to this district and assigned the above civil
case number 2:21-cv-07545-VAP-KESx. (car) (Entered: 09/24/2021)

 

09/24/2021

NOTICE OF ASSIGNMENT to District Judge Virginia A. Phillips and Magistrate
Judge Karen E. Scott. (car) (Entered: 09/24/2021)

 

09/24/2021

NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (car)
(Entered: 09/24/2021)

 

09/24/2021

Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge.
(car) (Entered: 09/24/2021)

 

09/24/2021

STANDING ORDER by Judge Virginia A. Phillips. READ THIS ORDER
CAREFULLY. IT CONTROLS THIS CASE AND DIFFERS IN SOME RESPECTS
FROM THE LOCAL RULES. This action has been assigned to the calendar of Judge
Virginia A. Phillips. (See document for further details (yl) Modified on 9/27/2021 (yl).
(Entered: 09/27/2021)

 

09/28/2021

ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 21-01-Related Case-
filed. Related Case No: 8:18-cv-00332 JVS(MRWx). Case transferred from Judge
Virginia A. Phillips and Magistrate Judge Karen E. Scott to Judge James V. Selna and
Magistrate Judge Michael R. Wilner for all further proceedings. The case number will
now reflect the initials of the transferee Judge 2:21-cv-07545 JVS(MRWx). Signed by
Judge James V. Selna (rn) (Entered: 09/29/2021)

 

10/06/2021

MINUTE (IN CHAMBERS) ORDER RE: IFP APPLICATION by Magistrate Judge
Michael R. Wilner. The Court directs Plaintiff to submit a supplemental statement
explaining in more detail Plaintiffs income, expenses, assets, and liabilities. Plaintiffs
supplemental statement will be due by October 27. Alternatively, Plaintiff may decide
to abandon the IFP request and simplypay the filing fee. If Plaintiff chooses to do so,
that payment will also be due by the datelisted above. (See Minute Order for further
details) (vm) (Entered: 10/06/2021)

 

10/18/2021

STATEMENT filed by Plaintiff Arelious Reed. Re: Minutes of In Chambers
Order/Directive - no proceeding held 14 . (vm) (Entered: 10/26/2021)

 

11/01/2021

Memorandum of Points and Authorities in Support of Plaintiff's Motion for Default
Judgment filed by plaintiff Arelious Reed. (es) (Entered: 11/05/2021)

 

 

11/04/2021

 

 

ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS by Magistrate Judge
Michael R. Wilner. IT IS ORDERED that the Request to Proceed In Forma Pauperis is
hereby GRANTED. re Statement 15 (vm) (Entered: 11/05/2021)

 

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Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 16 of 22. Page
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FOR COURT USE ONLY: STATISTICAL CORRECTION granting 2 APPLICATION
for Leave to Proceed in Forma Pauperis Re 2 (vm) (Entered: 11/05/2021)

 

11/05/2021

INITIAL ORDER FOLLOWING FILING OF COMPLAINT ASSIGNED TO JUDGE
SELNA (Ib) (Entered: 11/05/2021)

 

11/16/2021

MINUTES [IN CHAMBERS] ORDER TO SHOW CAUSE RE DISMISSAL FOR
LACK OF PROSECUTION by Judge James V. Selna: The Court, on its own motion,
hereby ORDERS plaintiff(s) to Show Cause (OSC) in writing no later than December 3,
2021, why this action should not be dismissed for lack of prosecution. As an alternative
to a written response by plaintiff(s), the Court will consider the filing of one of the
following, as an appropriate response to this OSC, on or before the above date: Proof of

service of summons and complaint. [See document for further details.] (es) (Entered:
11/17/2021)

 

11/17/2021

MINUTES [IN CHAMBERS] Order Regarding Motion for Default Judgment by Judge
James V. Selna: Plaintiff Arelious Reed ("Reed") submitted a "memorandum of points
and authorities in support of his motion for default judgment.” Mem., Dkt. No. 19, at 1.
Reed seeks a default judgment against Defendant Wells Fargo Bank, N.A. ("Wells
Fargo"). Id. at 6. For the following reasons, the Court finds that Reed's filing fails to
comply with the Central District of California Local Rules and DENIES the request for
default judgment. Denying 19 MOTION for Default Judgment. [See document for
further details.] (es) (Entered: 11/17/2021)

 

11/30/2021

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFF'S RESPONSE TO ORDER TO SHOW CAUSE FOR PROOF OF
SERVICE OF SUMMONS AND COMPLAINT, 20 filed by Plaintiff Arelious Reed
(es) (Entered: 12/10/2021)

 

12/14/2021

Memorandum of Points and Authorities in Support of Plaintiff's Motion for Default
Judgment filed by plaintiff Arelious Reed. (bm) (Entered: 12/21/2021)

 

12/15/2021

NOTICE OF MOTION AND MOTION to Dismiss Complaint filed by Defendant Wells
Fargo Bank, N.A.. Motion set for hearing on 1/24/2022 at 01:30 PM before Judge
James V. Selna. (Attachments: # 1 Proposed Order) (Attorney Jenny Yi added to party
Wells Fargo Bank, N.A.(pty:dft)) (Yi, Jenny) (Entered: 12/15/2021)

 

12/15/2021

CORPORATE DISCLOSURE STATEMENT filed by Defendant Wells Fargo Bank,
N.A. identifying Wells Fargo & Company as Corporate Parent. (Yi, Jenny) (Entered:
12/15/2021)

 

01/04/2022

RESPONSE to Order to Show Cause, 20 filed by Plaintiff Arelious Reed (es) (Entered:
01/04/2022)

 

01/05/2022

[IN CHAMBERS] Text Only Entry: Order to Show Cause issued 11/16/21 is ordered
DISCHARGED. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
ENTRY. (lb) TEXT ONLY ENTRY (Entered: 01/05/2022)

 

01/07/2022

OPPOSITION re: NOTICE OF MOTION AND MOTION to Dismiss Complaint 23
filed by Plaintiff Arelious Reed. (es) (Entered: 01/13/2022)

 

 

01/11/2022

 

 

MINUTES [IN CHAMBERS] Order Regarding Motion to Dismiss 23 by Judge James
V. Selna: Defendant Wells Fargo Bank, N.A. ("Wells Fargo") moved to dismiss the
complaint of Plaintiff Arelious Reed ("Reed"). Mot., Dkt. No. 23 . Reed did not file an
opposition. For the foregoing reasons, the Court GRANTS the motion to dismiss the

 

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complaint for failure to comply with Rule 8. Reed is given 21 days to file an amended
complaint. Granting 23 MOTION to Dismiss. [See document for further details.] (es)
(Entered: 01/11/2022)

01/14/2022 30 | MINUTES [IN CHAMBERS] Amended Order Regarding Motion to Dismiss 23 held
before Judge James V. Selna: Defendant Wells Fargo Bank, N.A. ("Wells Fargo")
moved to dismiss the complaint of Plaintiff Arelious Reed ("Reed"). Mot., Dkt. No. 23 .
Reed opposed the motion. Opp'n, Dkt. No. 29 . While Reed entitled his opposition as a
motion to strike Wells Fargo's motion, the Court will construe his "motion" as an
opposition. The opposition came in via U.S. Mail and was not added to the docket when
the last Minute Order on Wells Fargo's motion was issued. For the following reasons,
the Court GRANTS the motion with leave to amend. re: Order on Motion to Dismiss,
28 . (es) (Entered: 01/14/2022)

01/19/2022 31 | AMENDED COMPLAINT against Defendant Wells Fargo Bank, N.A. amending
Complaint - (Discovery) 1 , filed by plaintiff Wells Fargo Bank, N.A.(es) (Entered:
01/24/2022)

 

 

 

01/28/2022 32 | Order Setting Rule 26(f) Scheduling Conference for 3/28/2022 at 10:30 am before
Judge James V. Selna. Counsel shall file the Joint Rule 26 Meeting Report, with the
completed Exhibit A, by 3/21/2022. (Ib) (Entered: 01/28/2022)

01/28/2022 33 | NOTICE OF DISCREPANCY AND ORDER: by Judge James V. Selna, ORDERING
Summons in a Civil Action submitted by Plaintiff Arelious Reed received on January
19, 2022 is not to be filed but instead rejected. Denial based on: The summons was

issued from the Eastern District of Michigan. A summons from the Central District of
California should be used. (es) (Entered: 01/31/2022)

02/03/2022 34 | NOTICE OF MOTION AND MOTION to Dismiss Plaintiff's First Amended
Complaint filed by Defendant Wells Fargo Bank, N.A.. Motion set for hearing on
3/7/2022 at 01:30 PM before Judge James V. Selna. (Attachments: # 1 Proposed Order)
(Yi, Jenny) (Entered: 02/03/2022)

02/18/2022 35 | NOTICE OF NON-OPPOSITION to NOTICE OF MOTION AND MOTION to
Dismiss Plaintiffs First Amended Complaint 34 filed by Defendant Wells Fargo Bank,
N.A.. (Yi, Jenny) (Entered: 02/18/2022)

02/18/2022 36 | MINUTES [IN CHAMBERS] Order Regarding Motion to Dismiss 34 by Judge James
V. Selna: Defendant Wells Fargo Bank, N.A. ("Wells Fargo") moved to dismiss the First
Amended Complaint ("FAC") of Plaintiff Arelious Reed ("Reed"). Mot., Dkt. No. 34.
Wells Fargo has not complied with Local Rule 7-3. Accordingly, the Court DENIES the
motion to dismiss without prejudice to refiling. The motion is ordered off calendar, and
hearing set for March 7, 2022 is vacated. Fed. R. Civ. P. 78; L.R. 7-15. Denying 34
MOTION to Dismiss. [See document for details.] (es) (Entered: 02/18/2022)

02/25/2022 38 | 21 DAY Summons Issued re Amended Complaint 31 as to Defendant Wells Fargo
Bank, N.A.. (es) (Entered: 03/03/2022)

02/28/2022 37 | [DEFENDANT WELLS FARGO N.A.'S NOTICE OF MOTION AND MOTION TO
DISMISS PLAINTIFF'S AMENDED COMPLAINT filed as] NOTICE OF MOTION
AND MOTION to Dismiss Plaintiffs Amended Complaint filed by Defendant Wells
Fargo Bank, N.A.. Motion set for hearing on 2/25/2022 at 01:30 PM before Judge
James V. Selna. (Attachments: # 1 Proposed Order) (Yi, Jenny) Modified on 2/28/2022
(es). (Entered: 02/28/2022)

 

 

 

 

 

 

 

 

 

 

 

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Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 18 of 22
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03/14/2022

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NOTICE Defendant's Notice of Plaintiff's Non-Opposition to Motion to Dismiss
Plaintiff's Amended Complaint 37 filed by Defendant Wells Fargo Bank, N.A.. (Yi,
Jenny) (Entered: 03/14/2022)

 

03/14/2022

STATUS REPORT filed by Plaintiff Arelious Reed. (es) (Entered: 03/21/2022)

 

03/15/2022

CERTIFICATE OF SERVICE filed by Defendant Wells Fargo Bank, N.A., re Notice
(Other) 39 [Amended] served on March 14, 2022, by First Class U. S. Mail. (Yi, Jenny)
(Entered: 03/15/2022)

 

03/15/2022

[NOTICE OF CLERICAL ERROR ISSUED 04/06/22 SEE DKT. 46 RE: FILED
DATE] MEMORANDUM OF POINT AND AUTHORITIES IN SUPPORT OF
PLAINTIFF'S MOTION FOR ORDER TO SHOW CAUSE FOR JOINT RULE 26.(f)
REOIRT WITH THE COURT'S ATTACHED EXHIBIT A filed by Plaintiff Arelious
Reed. (lom) Modified on 4/6/2022 (es). (Entered: 03/30/2022)

 

03/21/2022

STATUS REPORT and Proposed Order filed by Defendant Wells Fargo Bank, N.A..
(Yi, Jenny) (Entered: 03/21/2022)

 

03/21/2022

MINUTES (In Chambers): ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
OF PROSECUTION by Judge James V. Selna. The Court, on its own motion, hereby
ORDERS plaintiff(s) to Show Cause (OSC) in writing no later than April 4, 2022, why
this action should not be dismissed for lack of prosecution. Scheduling Conference set
for March 28, 2022 is continued to April 11, 2022 at 10:30 a.m. (es) (Entered:
03/21/2022)

 

04/01/2022

[WELLS FARGO'S PROPOSED SCHEDULING ORDER filed as] EXHIBIT Filed
filed by Defendant Wells Fargo Bank, N.A.. as to Status Report 41 . (Yi, Jenny)
Modified on 4/6/2022 (es). (Entered: 04/01/2022)

 

04/06/2022

NOTICE OF CLERICAL ERROR: Due to clerical error Re: Response 44 incorrect
Filed Date was stamped on Document. The correct date is March 23, 2022. Attachment
included. (es) (Entered: 04/06/2022)

 

04/07/2022

47

[IN CHAMBERS] SCHEDULING NOTICE: The Court has posted its tentative ruling
on the Motion to Dismiss 37 and VACATES the Scheduling Conferenc set for
4/11/2022 at 10:30 am. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
ENTRY. (lb) TEXT ONLY ENTRY (Entered: 04/07/2022)

 

04/11/2022

NOTICE OF LODGING of Court's Exhibit A to the Rule26f Report filed by plaintiff
Arelious Reed re Status Report 43 . (es) (Entered: 04/11/2022)

 

04/21/2022

MINUTES [IN CHAMBERS] Order Regarding Motion to Dismiss and Order to Show
Cause by Judge James V. Selna: For the following reasons, the Court DISMISSES the
FAC and GRANTS Reed twenty-one days' leave to amend his complaint. Further, the
Court ORDERS Reed to meet and confer with Wells Fargo and submit a Joint Rule
26(f) report, with a jointly completed Exhibit A, within twenty-one days of entry of this
order. If Reed fails to do so, the Court will dismiss his complaint with prejudice for lack
of prosecution. Granting 37 MOTION to Dismiss. [See Order for details.] (es) (Entered:
04/21/2022)

 

 

04/25/2022

 

 

21 DAY Summons Issued re Amended Complaint 50 as to Defendant Wells Fargo
Bank, N.A.. (es) (Entered: 05/04/2022)

 

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Case 2:21-cv-07545-JVS-MRW Document 71 Filed 08/31/22 Page 19 of 22
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SECOND AMENDED COMPLAINT against defendant(s) Wells Fargo Bank, N.A.
amending Amended Complaint 31 , filed by plaintiff Arelious Reed (es) (Entered:
04/29/2022)

 

05/09/2022

NOTICE OF MOTION AND MOTION to Dismiss Second Amended Complaint filed
by Defendant Wells Fargo Bank, N.A.. Motion set for hearing on 6/13/2022 at 01:30
PM before Judge James V. Selna. (Attachments: # 1 Proposed Order) (Yi, Jenny)
(Entered: 05/09/2022)

 

05/11/2022

MOTION for Notice of Extension of Time to File Joint Rule 26(f) Report with Jointly
Completed Exhibit A filed by plaintiff Arelious Reed. (es) (Entered: 05/16/2022)

 

05/12/2022

JOINT REPORT Rule 26(f) Discovery Plan ; estimated length of trial 3 days, filed by
Defendant Wells Fargo Bank, N.A... (Attachments: # 1 Joint Proposed Scheduling
Order) Yi, Jenny) (Entered: 05/12/2022)

 

05/17/2022

ORDER FOR JURY TRIAL SETTING DATES; PREPARATION FOR TRIAL; AND
GOVERNING ATTORNEY AND PARTY CONDUCT AT TRIAL before Judge James
V. Selna. (See Document for Details and Deadlines) (es) (Entered: 05/17/2022)

 

05/17/2022

MINUTE ORDER [IN CHAMBERS] ORDER RE SCHEDULING DATES by Judge
James V. Selna: The Court has read and considered the parties Rule 26(f) Report and
sets the following dates: Jury Trial June 27, 2023 at 8:30 a.m. Final PreTrial Conference
June 12, 2023 at 11:00 a.m. Discovery Cut-off January 15, 2023. Expert Discovery Cut-
off March 15, 2023. Law and Motion Cut-off May 8, 2023 at 1:30 p.m. The Court
orders that any settlement discussions shall be completed not later than February 28,
2023. Motion for Extension of Time to File Joint Rule 26(f) Report 54 is denied as
moot. Discovery may proceed at this time. re: Joint Report Rule 26(f) Discovery Plan
53 [See Order for further details and deadlines.] (es) (Entered: 05/17/2022)

 

05/17/2022

57

FOR COURT USE ONLY: STATISTICAL CORRECTION Denying 54 MOTION for
Extension of Time to File re: 56 Scheduling Order (es) (Entered: 05/17/2022)

 

05/17/2022

MEMORANDUM OF POINTS AND AUTHORITIES in Support of Plaintiff's Motion
to Strike Defendant's Wells Fargo N.A.'s NOTICE OF MOTION AND MOTION to
Dismiss Second Amended Complaint 52 filed by Plaintiff Arelious Reed. (es) Modified
on 6/6/2022 (es). (Entered: 05/20/2022)

 

05/20/2022

[NOTICE OF CLERICAL ERROR ISSUED 05/20/22 SEE DKT. 60 WRONG CASE]
ORDER REMANDING CASE TO STATE COURT by Judge James V. Selna, The
Court sua sponte REMANDS this action to the California Superior Court for the County
of Orange for lack of subject matter jurisdiction, as set forth below. See Order for
details. Case Terminated. Made JS-6 (es) Modified on 5/20/2022 (es). (Entered:
05/20/2022)

 

05/20/2022

NOTICE OF CLERICAL ERROR: Due to clerical error Re: Order to Remand Case to
State Court, 59 The Remand Order was docketed on the incorrect case. The correct
case: 8:22-cv-01010-JVS-DFM. Please disregard in its entirety. (es) (Entered:
05/20/2022)

 

05/27/2022

OPPOSITION filed by Defendant Wells Fargo Bank, N.A.. (Yi, Jenny) (Entered:
05/27/2022)

 

 

06/03/2022

 

 

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFF'S MOTION FOR SANCTIONS IN OPPOSITION TO DEFENDANT'S

 

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WELLS FARGO N.A.'S OPPOSITION TO PLAINTIFF'S MOTION TO STRIKE
MOTION to Strike 58 filed by Plaintiff Arelious Reed. (es) (Entered: 06/06/2022)

06/09/2022 63 | [IN CHAMBERS] Text Only Entry: Hearing on Defendant Wells Fargo NAs Motion to
Dismiss Plaintiffs Second Amended Complaint 52 set for 6/13/2022 at 1:30 pm is
ordered VACATED. The Court will issue an Order on this matter. THERE IS NO PDF
DOCUMENT ASSOCIATED WITH THIS ENTRY. (Ib) TEXT ONLY ENTRY
(Entered: 06/09/2022)

06/09/2022 64 | MINUTES [IN CHAMBERS] Order Regarding Motion to Dismiss by Judge James V.
Selna: Defendant Wells Fargo Bank, N.A. ("Wells Fargo") moved to dismiss the Second
Amended Complaint ("SAC") of Plaintiff Arelious Reed ("Reed"). Mot., Dkt. 52. Reed
submitted a filing in response, captioned as a motion to strike Wells Fargo's motion to
dismiss. Dkt. 58. Wells Fargo responded. Dkt. 61. Reed subsequently submittedanother
filing in response to Wells Fargo's reply. Dkt. 62.For the following reasons, the Court
DISMISSES Reed's SAC with prejudice and DENIES all relief requested by Reed. The
Court VACATES the hearing scheduled for June 13, 2022. The Court finds that oral
argument would not be helpful in this matter. Fed R. Civ. P. 78; L.R. 7-15. Granting 58
Motion to Strike. [See Order for details] (es) (Entered: 06/09/2022)

06/29/2022 65 | NOTICE OF DISCREPANCY AND ORDER: by Judge James V. Selna, ORDERING
Memorandum submitted by Plaintiff Arelious Reed received on 6/21/22 is not to be
filed but instead rejected. Denial based on: Local Rule 6-1. Document is entitled

Memorandum of Points and Authorities but there is no Notice of Motion or Motion. (es)
(Entered: 06/29/2022)

07/14/2022 66 | NOTICE OF DISCREPANCY AND ORDER: by Judge James V. Selna, ORDERING
Memorandum of Points and Authorities in Support of Plaintiffs Motion to Alter or
Amend Judgment submitted by Plaintiff Arelious Reed received on July 7, 2022 is not
to be filed but instead rejected. Denial based on: Document entitled Memorandum of

Points and Authorities but there is no Notice of Motion or Motion. (es) (Entered:
07/14/2022)

 

 

 

 

 

07/19/2022 67 | Memorandum of Points and Authorities in Support of Plaintiff's Motion to Alter or
Amend Judgment re Order on Motion to Strike re Discovery Matter, 64 filed by plaintiff
Arelious Reed. Motion set for hearing on 8/29/2022 at 01:30 PM before Judge James V.
Selna. (es) (Entered: 07/28/2022)

08/08/2022 68 | Defendant Wells Fargo N.A.'s Opposition to Plaintiff's Motion to Alter or Amend
Judgment Opposition re: NOTICE OF MOTION AND MOTION to Alter Judgment re
Order on Motion to Strike re Discovery Matter,,, 64 . 67 filed by Defendant Wells Fargo
Bank, N.A.. (Yi, Jenny) (Entered: 08/08/2022)

08/24/2022 69 | MINUTES [IN CHAMBERS] Order Regarding Plaintiffs Motion to Alter or Amend
Judgment 67 by Judge James V. Selna: For the following reasons, the Court DENIES
the motion. Denying 67 MOTION to Alter Judgment. [See document for further
details.] (es) (Entered: 08/24/2022)

 

 

 

 

 

 

 

 

 

 

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